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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA


-vs-                                                     Case No. 8:19-cr-504-MSS-CPT


BRADLEY DIEFFENBACHER

                                  CLERK’S MINUTES
                                Proceeding: Change of Plea
                                      Courtroom 12B

Judge: Christopher P. Tuite, U.S. Magistrate Judge       Date: March 25, 2021
Deputy Clerk: Ashley Sanders                             Time: 3:02 p.m.
USPO: none                                               Recess: 3:38 p.m.
Court Reporter: digital                                  Total Time: 36 min
Interpreter: none


Counsel for USA: Candace Rich, AUSA
Counsel for Defendant: Alec Hall, AFPD


Court calls case and counsel enters appearance.

Defendant objects to the penalty on page 2 and does not stipulate that the priors on page 4
qualify for the enhancement of the minimum mandatory.

Defendant sworn. Defendant is 45 years old, has a master’s degree, can read/write English,
no mental health/substance abuse treatment, no drug/alcohol use, clear minded. Counsel
has no concerns as to defendant’s competency.

Defendant consents to proceed before a Magistrate Judge.

Defendant is entering into an open plea. Court advises mandatory and minimum penalties.
Defendant understands. Court advises of certain constitutional rights. Defendant
understands.

Government recites factual basis. Mr. Hall believes the approximate age of victim 1 as
indicated on page 5 should be changed from “approximately 13 years old” to
“approximately 15 years of age”. No other objections to the factual basis. Defendant admits
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that the ages of victim 1 and victim 2 were under the age of 18 at all times relevant to the
time frame of the Indictment.

Court reviews forfeiture allegation. Defendant understands.

Defendant pleads GUILTY to Counts One, Two, Three, Four, and Five of the Indictment.
Court finds defendant competent to enter a plea knowingly and voluntarily and the plea is
supported by an independent factual basis. Report and recommendation to be entered.

Defendant referred to probation for a presentence investigation report.

Oral due process order pronounced.

Defendant remanded to USM.

Recess.
